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               IN THE CIRCUIT COURT OF CLAY C UNTY,MISSISSIPPI

P 1 I SCILLA UFO 11                                                                     PLAINTIFF

VS.                                              CIVIL ACTION NO.          al-cAt-oociaV.
WAL-MA T STORES EAST,LP and
JOHN DOES 1-10                                                                       DEFENDANTS

                                        COMPLAINT
                                   JURY TRIAL DEMANDED

       COMES NOW the Plaintiff, PRISCILLA BUFORD, by and through counsel, and in

support of this, her Complaint for damages against the Defendants, respectfully alleges the

following:

        1.      Plaintiff, PRISCILLA BUFORD, is an adult resident citizen of West Point,

Mississippi.

        2.      WAL-MART STORES EAST, LP is a non-resident limited partnership which is

incorporated in the State of Arkansas. Defendant may be served with process by and through

personal service upon its registered agent, CT Corporation System, 645 Lakeland East Drive,

Suite 101, Flowood, MS.

        3.      JOHN DOES 1-10 are fictitious and unknown paities whose negligent acts caused

 or contributed to the Plaintiffs injuries. The identity ofthese parties is unknown at this time and

 can only be ascertained through the use of judicial mechanisms such as discovery. Upon

 learning the identity of this party or parties, the Plaintiff may substitute it/them for the fictitious

 parties under Rule 9(h). Alternatively, in the event that the Plaintiff has sued the wrong party

 and is required to change parties, such amendment will be made in accordance with Rule 15(c).

                                                                                                _    Clay I
                                                                                                    County


                                                                                    JUN 1 7 2021


                                      EXHIBIT A
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                                JURISDICTION AND VENUE

       4.      This Court has personal jurisdiction over the parties.

       5.      This Court has subject matter jurisdiction of this cause pursuant to Article VI, §

156 ofthe MissiSsippi Constitution of 1890.

       6.      Venue is proper in the Circuit Court of Clay County, Mississippi, pursuant to

Miss. Code Ann. § 11-11-3, as same is where the cause of action sued upon occurred or accrued

and is where at least one ofthe named Defendants may be located.

                                  FACTUAL ACKG OUND

       7.      Plaintiff incorporates the preceding paragraphs as iffully rewritten herein.

       8.      On or about July 1,2019,Plaintiff was an invitee at the Wal-Mart store located in

West Point, Mississippi (hereinafter "the premises").

       9.      While on the premises as an invitee, Plaintiff tripped and fell over a broken

display pallet which had been left on the floor ofthe premises by Wal-Mart employees.

        10.    As a proximate cause of the aforementioned fall, Plaintiff sustained bodily

injuries and damages.

                                     CAUSE(S)OF ACTI

                        PREMISES LIABILITY AND NEGLIGENCE

        1 1.    Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.

        12.     The aforementioned occurrence and the resulting injuries and damages were

 directly and proximately caused by or contributed to by the negligence of the Defendant(s),

 including, but not necessarily limited to,. direct acts of negligence committed by Defendant(s)'

 employees which include all allegations hereafter, and in their failure to exercise a proper degree

 of care in the following respects, to-wit:
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       (a)     By carelessly and/or negligently failing to exercise reasonable care to properly

maintain the premises in a reasonably safe condition;

       (b)     By failing to take sufficient and adequate remedial action to eliminate the

hazardous condition despite having actual and/or constructive knowledge' of the hazar,dous

condition prior to Plaintiff's incident;

      (c)      By failing to adequately inspect and maintain the premises;

       (d)     By negligently creating the hazardous condition;

      (e)      By failing to warn ofthe hazardous condition;

       (f)     By other acts of negligence which will be shown at the trial of this cause.

                        NEGLIGENT TRAINING AND SUPERVISION

        13.     Defendant(s), by and through its acts of negligence and/or the negligence of its

employees, contractors or agents for which they are vicariously liable and for which the their

employees, agents and contractors are individually liable, created the hazardous condition by

failing to exercise the reasonable care required to create a reasonably safe premises and failed to

maintain the premises in a reasonably safe condition. Specifically, the Defendants, by their

failure to implement safety policies and procedures and by individual acts of negligence on the

part of their managerial staff, negligently permitted the hazardous condition to remain on the

 premises by the failure to train, monitor, and supervise its personnel to maintain the premises in a

 reasonably safe condition.
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                                              AMAGES

        14.    Defendant's breach of these duties was a proximate and contributing cause and/or

concurrent cause of the incident and the resulting injuries to the Plaintiff.

        15.     As a further -direct and .proximate cause of Defendant's disregard for Plaintiffs :

safety and well being and other negligent acts, Plaintiff suffered serious bodily injuries and

incurred substantial monetary damages. These damages include, but are not limited to the

following:

       (a)      past, present and future medical expenses;
       (b)      past, present and future physical pain and suffering;
       (c)      past, present and future mental and emotional distress;
       (d)      past, present and future inconvenience and discomfort;

       (e)      permanent impairment and/or disability;
       (f)      any other relief, which the Court or jury deems just or appropriate based upon the
                circumstances.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment against the

Defendant for actual, compensatory damages, non-pecuniary damages, attorney's fees and costs.

        Respectfully submitted, this the 7th of June, 2021.

                                                        PRISCILLA BUFORD,PLAINTIFF



                                                By:     /s/Shanda AIL Yates
                                                        SHANDA M. YATES




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                                                                                JUN 7 2021
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